
654 S.E.2d 481 (2007)
RICHARDSON
v.
BANK OF AMERICA.
No. 240PA07.
Supreme Court of North Carolina.
November 8, 2007.
John H. Culver, III, Amy Pritchard Williams, Charlotte, Walter E. Dellinger, III, Washington, DC, McGlinchey Stafford, Anthony J. Rollo, Daniel T. Plunkett, New Orleans, LA, for Bank of America, NationsCredit Financial.
John Alan Jones, G. Christopher Olson, Raleigh, for Richardson, et al.
Burley B. Mitchell, Jr., Jack L. Cozort, Raleigh, Eileen R. Youens, for N.C. Chamber.
Reed Johnston, Jr., for Consumer Credit Industry Associa.
J. Jerome Hartzell, Raleigh, for NCATL.
Stephanie M. Ceccato, for Legal Services of S.Piedmont.
William J. Whalen, for Pisgah Legal Services.
Mallam J. Maynard, for Financial Law Center.
Christopher Browning, Jr., Solicitor General, Philip A. Lehman, M. Lynne Weaver, Assistant Attorney Generals, for State of NC.
L. McNeil Chestnut, Special Deputy Attorney General and Counsel to the Commissioner of Banks.
The following order has been entered on the motion filed on the 5th day of November 2007 by NC Justice Center, et al. for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 8th day of November 2007."
